

People v Garcia (2023 NY Slip Op 00036)





People v Garcia


2023 NY Slip Op 00036


Decided on January 05, 2023


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: January 05, 2023

Before: Renwick, J.P., Gesmer, Kennedy, Scarpulla, Pitt-Burke, JJ. 


Ind No. 2828/15, 2417/16 Appeal No. 17028 Case No. 2018-4141, 2018-4533 

[*1]The People of The State of New York, Respondent,
vAngel Garcia, Defendant-Appellant.


Caprice R. Jenerson, Office of the Appellate Defender, New York (Kameron Johnson of counsel), for appellant.
Alvin L. Bragg, Jr., District Attorney, New York (John T. Hughes of counsel), for respondent.



An appeal having been taken to this Court by the above-named appellant from a judgment of the Supreme Court, New York County (Michael Sonberg, J. at hearing; Abraham L. Clott, J. at plea and sentencing), rendered May 3, 2018,
Said appeal having been argued by counsel for the respective parties, due deliberation having been had thereon, and finding the sentence not excessive,
It is unanimously ordered that the judgment so appealed from be and the same is hereby affirmed.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: January 5, 2023
Counsel for appellant is referred to § 606.5, Rules of the Appellate Division, First Department.








